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Case 1:17-cr-00452-CCB Document 49 Filed 06/10/19. .Page@#% oe
JUN 10 2019

AO 243 (Rev. 01/15) Kits. - 3 Page 2
_ MOTION UNDER 28 U.S.C. § 2255 TO VACATE; SET ASIDE, OR CORRECTS"

SENTENCE BY A PERSON IN FEDERAL cUisTopy

United States District Court [District Bistrict of Maryland
Name funder which you were convicied]: Docket or Case No.:

Thomas A. Allers - (2. PAH /G- J ” 73
Prisoner No.: 63378-037

pr

 

 

 

 

Place of Confi t:
onlmemen FCI Coleman Low

UNITED STATES OF AMERICA Movant (include name under which convicted)
V. ‘Thomas Allers

 

 

 

 

 

 

MOTION

1. (a) Name and location of court which entered the judgment of conviction you are challenging:

U.S. District Court of Mary Land

 

 

 

 

 

(b) Criminal docket or case number (if you know): CCB-17-452
2. (a) Date of the judgment of conviction (if you know): " 5-31-2018

(>) Date of sentencing: _ 5-11-2018
3. Length of sentence: 15 years

 

 

4. Nature of crime (all counts):
(1) Rico Conspiracy; (2) Rico; (3) Hobbs Act Robbery; (4) Hobbs Act Robbery;
(5) Hobbs Act Robbery; (6) Hobbs Act Robbery; (7) Hobbs Act Robbery.

 

5. (a) What was your plea? (Check one}
(1) Not guilty [—] (2) Guilty (3) Nolo contendere (no contest) [_]

(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or
what did you plead guilty to and what did you plead not guilty to?

 

6. If you went to trial, what kind of trial did you have? (Check one) N/A Jury [] Judge only [J

7. Did you testify at a pretrial hearing, trial, or post-trial hearing? N/A Yes LJ No {]

8. Did you appeal from the judgment of conviction? Yes [ | No[ x]

 

 
 

 

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9.

10.

 

If you did appeal, answer the following:
(a) Name of court:
(b) Docket or case number (if you know):
(c) Result:
(d) Date of result (if you know):
(e) Citation to the case (if you know):

 

 

 

 

 

(f) Grounds raised:

 

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes [ j No [x]
If “Yes,” answer the following: .
(1) Docket or case number (if you know):
(2) Result:

 

 

 

(3) Date of result (if you know):
(4) Citation to the case {if you know):

 

 

(5) Grounds raised:

 

Other than the direct appeals listed above, have you previously fi led any other motions, petitions, or applications,
concerning this judgment of conviction in any court?
Yes [| No rx]

 

If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court:
(2) Docket or case number (if you know):

(3) Date of filing (if you know):

 

 

 

(4) Nature of the proceeding:
(5) Grounds raised:

 

 

 
 

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(6) Did you receive a hearing where evidence was given on your motion, petition, or application?
Yes [3 No fj
(7) Result:
(8) Date of resuit (if you know):
(b) If you filed any second motion, petition, or application, give the same information:
(1) Name of court:
(2) Docket of case number (if you know):
(3) Date of filing (if you know):
(4) Nature of the proceeding:
(5) Grounds raised:

 

 

 

 

 

 

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?
Yes [ ] No [J
(7} Result:

(8) Date of result (if you know):
(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,

 

 

or application?

(1) First petition: Yes C4 No LJ

(2) Second petition: Yes [ ] No [|

(¢) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

 

12. For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
laws, Or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts

supporting each ground.

 

 
 

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AQ 243 (Rev. 01/15)
Defense counsel] knew Mr. Allers was dissatisfied with his sentence, but did

GROUND ONE: net discuss the benefit or detriments of not filing a direct appeal. If defense

counsel had consulted with Mr. Allers, then Mr. Allers would have appealed.
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

See continuation page.

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(b) Direct Appeal of Ground One:
(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes [ ] No [|

(2) If you did not raise this issue in your direct appeal, explain why:

 

{c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [ No [ ]

(2) if you answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Resuit (attach a copy of the court’s epinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [] No
(4) Did you appeal from the denial of your motion, petition, or application?

Yes Lj No [ j

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes[_ | No[ |

 

 

 
 

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(6) If your answer to Question (c)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:
Result (attach a copy of the court’s opinion or order, if available):

 

 

(7) If your answer to Question (c)(4) or Question (¢)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND TWo: The Tenth Amendment reserves to the States the right to regulate its own law
* enforcement officers. The federal government's extension of its ordinary criminal
laws to state law enforcement officers encroaches on state sovereignty and violates the constitution.

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

See continuation page .

 

(b) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes [| No [

(2) If you did not raise this issue in your direct appeal, explain why:

 

(c} Post-Cenviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [] No [|

 

 

 
 

 

 

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{2} If you answer to Question (c)(i) is “Yes,” state:
Type of motion or petition:
Name and location of the court where the motion or petition was filed:

 

 

Docket or case number (if you know):
Date of the court’s decision:
Result (attach a copy of the court’s opinion or order, if available):

 

 

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [j No CJ

(4) Did you appeal from the denial of your motion, petition, or application?

Yes["_] No[ ] .

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
Yes [| No []

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:
Result (attach a copy of the court’s opinion or order, if available):

 

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND THREE:

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

See continuation page,

 

 

 

 
 

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(b) Direct Appeal of Ground Three:

(c)

(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes CL] No [

(2) If you did not raise this issue in your direct appeal, explain why:

 

Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes No

(2) Hf you answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order. if available):

 

(3) Did you receive a hearing on your motion, petition, or application?
Yes {J No [_]
(4) Did you appeal from the denial of your motion, petition, or application?
Yes [_] No
(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes No

(6) If your answer to Question (c)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

 

 

 
 

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(7) lH your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND FOUR: Mr. Aller's guilty plea was constituionally unintelligent,

unknowing, and involutary.
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

See continuation page.

 

{b) Direct Appeal of Ground Foar:
(i) If you appealed from the judgment of conviction, did you raise this issue?

Yes [j No {]

(2) If you did not raise this issue in your direct appeal, explain why:

 

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes No []

(2) If you answer to Question (c)(1} is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

 

 
 

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(3) Did you receive a hearing on your motion, petition, or application?

Yes [J No [

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [ ] No { }

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes L] No [J
(6) If your answer to Question (c)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:
Result (attach a copy of the court’s opinion or order, if available):

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

13. Is there any ground in this motion that you have not previously presented in some federal court? Ifso, which
ground or grounds have noi been presented, and state your reasons for not presenting them:

 

14. Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
you are challenging? Yes{ | No
If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

 

 

 
 

 

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15.

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18.

Give the name and address, if known, of each h attomey who represented you in the following stages of the
you are chailenging:
{a) At the preliminary hearing:

Gary Proctor, 8 E. Mulberry Street, Baltimore, MD 21202

(b) At the arraignment and plea:
Gary Proctor, Same as above

(c) At the trial:
N/A

(d) At sentencing:
-Gary Proctor, Same as above

 

(e) On appeal:
N/A
(f) In any post-conviction proceeding:

N/A |
{g) On appeal from any ruling against you in a post-conviction proceeding:

N/A

Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court
and at the same time? Yes [ ] No [x]

Do you have any future sentence to serve after . complete the sentence for the judgment that you are

challenging? Yes [| No
(a) If so, give name and location of court that imposed the other sentence you will serve in the future:

 

(b) Give the date the other sentence was imposed:
{c) Give the length of the other sentence:
(d) Have you filed, ordo you plan to file, any motion, petition, or application that challenges the judgment or

sentence to be served in the future? Yes [J No [ ]

 

 

TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion. *

 

 

 
 

 

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* The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C. § 2255,
paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period shalt run
from the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of
the Constitution or laws of the United States is removed, if the movant was prevented from making such a
motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Count, if that right has
been newly recognized by the Supreme Court and made retroactively applicable to cases On collateral
review; or
(4) the date on which the facts supporting the claim or claims presented could have been discovered
through the exercise of due diligence.

 

 
 

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Therefore, movant asks that the Court grant the following relief:

 

or any other relief to which movant may be entitled.

 

Signature of Attorney (if any)

1 declare (or certify, verify, or state) under penalty of perjury that ihe foregoing is true and correct and that this Motion
under 28 U.S.C. § 2255 was placed in the prison mailing system on May 31, 2019

 

(month, date, year)

Executed (signed) on May 23, 2019 (date)

YQ

Sighfatuke of Movant

 

 

If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion. |

 
 

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CONTINUATION PAGE

GROUND ONE: Defense counsel knew Mr. Allers was dissatisfied with his sentence,
but did not discuss the benefit or detriments of not filing a direct appeal. If
defense counsel had consulted with Mr. Allers, then Mr. Allers would have
appealed. -

Supporting Facts:

Mr. Allers told defense counsel that he did not believe he was guilty of a
serious crime that to the extent of his conduct was wrong, that his conduct was
minuscule compared to others. Hence, if he was punished appropriately, his
sentence would be a few years at most. He thought his conviction was political
and feared his sentence was media driven. Counsel acknowledged the
dissatisfaction, but told him there was nothing he could do. His guilty plea and
the plea agreement effectively waived his right to appeal. Thus, any real chance
of challenging the sentence had passed.

After sentencing, while in court, Mr. Allers told his attorney that he was

not happy with the sentence and it was unfair. Counsel said nothing could be

done, the appeal was waived, and never discussed it further.

 
 

 

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CONTINUATION PAGE

GROUND TWO: The Tenth Amendment reserves to the States the right to regulate its
own law enforcement officers. The federal government extension of its ordinary
criminal laws to state law enforcement officers encroaches on state sovereignty
and violates the Constitution.

Supporting Facts:

Mr. Allers worked for the State of Maryland (City of Baltimore) as a law
enforcement officer. The federal government concluded that Mr. Allers's conduct
in the course of his duty violated Maryland law, and by virtue of federal
conspiracy laws (RICO) and interference with commerce laws (Hobbs Act)
constituted a federal crime.

Although Mr. Allers, consistent with the form § 2255 motion'’s instruction,
avoids legal argument and citation of authority, he briefly explains that the
preceeding facts implicate a Tenth Amendment violation. The Tenth Amendment
preserves to the States the power and authority that belonged to the them before
formation of the Republic. Among that power and authority, the States’ right to
manage and regulate its own police officers. The federal government use of it
criminal laws (other possibly than for a (state-authorized) Constitutional
violation) to control the behavior of state law enforcement constitutes to an
impermissible encroachment on State sovereignty that renders the criminal laws
as applied unconstitutional. Further, it is conceivabie that the federal statues
are facially invalid, since as a practical matter Constitutionally permissible
enforcement cannot be distinguished from Constitutionally impermissible conduct.
Again, the form does not permit a full discussion of the legal issue that
requires separate briefing. At this point, succinctly, the federal government
violated the Constitution when it used its criminal laws to violate the State of

Maryland's sovereignty. The conviction should be vacated.
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CONTINUATION PAGE

GROUND THREE: The factual predicate supporting the conviction, the alleged
$10,000 payment from the girlfriend of B.H. never occurred. The government knew
it did not occur and intentionally truncated the investigation to ensure the
exculpatory evidence was not revealed.

Supporting Facts:

In the plea agreement and at sentencing, the federal government focused on
a factual basis that was false. The government claimed that Mr. Allers
indirectly caused the death of a government informant by extorting $10,000 from
a woman we discreetly refer to as T.A. Mr. Allers did not extort or otherwise
receive any money from T.A., significantly, there was no money——the money that
allegedly transferred to Mr. Allers is a complete fabrication.

The government's use of false evidence, the court's reliance on unreliable
information, and counsel's failure to challenge the false predicate all identify
constitutional violations: fair trial, due process, effective assistance of
counsel, and even substantive due process concerning the imprisonment of a
person who is actually innocent.

Here is what actually happened. On March 2nd, 2016, the task force Mr.
Allers was part of received information about an armed drug dealer, B.H., who
was distributing narcotics out of his apartment. The task force performed a
background check on B.H., and on discovering he had a suspended license, devised
an operation to search B.H.'s vehicle via a routine traffic stop. The trap was
laid, and a traffic stop was performed only a few blocks from B.H.'s apartment.
A subsequent search of the vehicle yielded a seizure of illegal narcotics and
lead to the arrest of B.H.

After B.H.'s arrest, Mr. Allers escorted B.H. back to the apartment

complex's parking lot to await pickup. While they were waiting, B.H. asked Mr.
 

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Allers to give the money B.H. had on him to his girlfriend, T.A. Mr. Allers
agreed, and took the money from B.H.'s pocket.

After B.H. was picked up, Mr. Allers and another task force officer, J.R.,
visited B.H.'s apartment, which was owned by T.A. Mr. Allers asked for and T.A.
gave her consent to allow the officers to search the apartment, which was
recorded on video. Mr. Allers and J.R. found 2 guns in the master bedroom (on
B.H.’s side of the bed), but no money.

After the search, T.A. became very nervous. She told Mr. Aliers that B.H.
physically abused her, and B.H. would do so again because she gave her consent
to have the apartment searched. In order to reassure her and as a precaution,
Mr. Allers gave T.A. his mobile phone number in the event B.H. became violent
with T.A. In addition, Mr. Allers gave B.H.'s money to T.A., as he was asked.

Mr. Alléer's communication with T.A. involved no extortion, and the only
money exchanged was the small amount from B.H.'s. pocket to T.A. J.R., did not

observe any exchanges of large amounts of cash, much less the purported $10,000.

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CONTINUATION PAGE

GROUND FOUR: Mr. Allers's guilty plea was constitutionally unintelligent,
unknowing, and involuntary.
Supporting Facts:

The Constitution does mot accept an individual's self—-incriminating
statement or guilty plea unless the accused knowingly, intelligently, and
voluntarily waives his or her constitutional protections and right. Implicit in
that doctrine, the accused must understand the true nature of the charges
against him or her. An understanding that entails a proper comprehension of the

element of the crimes of conviction.

At the time of the guilty plea (and today, for that matter) Mr. Allers does
not know the elements of a federal Racketeer Influenced and Corrupt Organization
Act violation. Mr. Allers did not realize that his guilty plea meant that he
voluntarily entered into a continuing conspiracy with the specific intent to
further the conspiracy's specific objectives. Further, Mr. Allers did not
realize that federal RICO reached only activities specifically intended to
interfere with interstate’ of foreign commerce. Counsel effectively advised him
that because his conduct of "looking the other way" and accepting some money
from other officers was wrong, when combined with the media attention, despite
the truth, Mr. Allers was toast-——that is, he would be found guilty, therefore
he might as well plead guilty and beg for the court's mercy.

Neither counsel] nor court ensured that Mr. Allers understood the mens rea
or actus reas elements of the crimes (RICO, Hobbs Act Robbery). If Mr. Allers

had understood the elements, then he could not have pleaded guilty as he did.

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CONTINUATION PAGE

- GROUND FIVE: Defense counsel's deficient performance deprived Mr. Allers of the
effective assistance of a sentencing-stage attorney.
Supporting Facts:

This district court did not comply with U.S.S.G. § 1B1.3 when determining
Mr. Allers's relevant conduct and the guidelines range from which to commence
the sentence calculating under 18 U.S.C. § 3553(c). This court did not identify
the scope of the jointly-undertaken activity or the foreseeability of the co-
conspirators criminal conduct. Mr. Aller received approximate $5,000, not more
than $100,000. Moreover, he did not know what his alleged co-conspirator
received. Mr. Allers had no involvement with the criminal gangs and was unaware
that the co-conspirators had either gang affiliations or dealings with gangs.

At time of sentencing, Mr. Allers was experiencing the debilitating effects
of his PTSD and anxiety medication.

Furthermore, at sentencing, counsel filed to challenge the factual

inaccuracies laced through the PSR and the factual profeer, including these

actions of the co-conspirators that the PSR assert Mr. Allers knew of and did

mot, such as

Finally, defense counsel did not challenge the PSR'’s other factual
inferences like Mr. Allers's crimes involving firearms or other weapons. Mr.
Allers's, to the extent any of his conduct was criminal, did nothing more than
receive smal] amounts of money from other police officers.

Counsel should have challenged the facts. Mr. Allers points out that these
same operative facts support other grounds for relief: (1) that this court
violate both due process and equal protection when it elected to bypass the

Guidelines sentencing methodology; and (2) that the government violated its fair
 

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CONTINUATION PAGE

GROUND ONE: Defense counsel knew Mr. Allers was dissatisfied with his sentence,
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The Constitution does not accept an individual's self-incriminating
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